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 1   DANIEL G. SWANSON, SBN 116556                  MARK A. PERRY, SBN 212532
     dswanson@gibsondunn.com                        mark.perry@weil.com
 2   GIBSON, DUNN & CRUTCHER LLP                    JOSHUA M. WESNESKI (D.C. Bar No.
     333 South Grand Avenue                         1500231; pro hac vice)
 3   Los Angeles, CA 90071                          joshua.wesneski@weil.com
     Telephone: 213.229.7000                        WEIL, GOTSHAL & MANGES LLP
 4   Facsimile: 213.229.7520                        2001 M Street NW, Suite 600
                                                    Washington, DC 20036
 5   CYNTHIA E. RICHMAN (D.C. Bar No.               Telephone: 202.682.7000
     492089; pro hac vice)                          Facsimile: 202.857.0940
 6   crichman@gibsondunn.com
     GIBSON, DUNN & CRUTCHER LLP                    MORGAN D. MACBRIDE, SBN 301248
 7   1700 M Street, N.W.                            morgan.macbride@weil.com
     Washington, DC 20036                           WEIL, GOTSHAL & MANGES LLP
 8   Telephone: 202.955.8500                        Redwood Shores Pkwy, 4th Floor
     Facsimile: 202.467.0539                        Redwood Shores, CA 94065
 9                                                  Telephone: 650.802.3044
     JULIAN W. KLEINBRODT, SBN 302085               Facsimile: 650.802.3100
10   jkleinbrodt@gibsondunn.com
     GIBSON, DUNN & CRUTCHER LLP
11   One Embarcadero Center, Suite 2600
     San Francisco, CA 94111
12   Telephone: 415.393.8200                        Attorneys for Defendant APPLE INC.
     Facsimile: 415.393.8306
13

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17
                              UNITED STATES DISTRICT COURT
18
                            NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
20
     EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR
21
            Plaintiff, Counter-defendant            DECLARATION OF MARK A. PERRY
22
     v.                                             IN SUPPORT OF APPLE’S MOTION TO
23                                                  STRIKE CERTAIN HEARING
     APPLE INC.,                                    TESTIMONY
24
            Defendant, Counterclaimant              The Honorable Yvonne Gonzalez Rogers
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     DECLARATION OF MARK A. PERRY                                       CASE NO. 4:20-CV-05640-YGR
     REGARDING MOTION TO STRIKE
          Case 4:20-cv-05640-YGR           Document 1328-1         Filed 03/07/25        Page 2 of 2




 1          I, Mark A. Perry, hereby declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and a member of the

 3   Bar of this Court. I am a partner at the law firm Weil, Gotshal & Manges LLP, counsel of record

 4   for Apple Inc. (“Apple”) in this case. I am familiar with Apple’s treatment of privileged

 5   information based on my personal experience representing Apple. I have personal knowledge of

 6   the facts stated below and, if called as a witness, would testify competently thereto. I submit this

 7   declaration in support of Apple’s Motion to Strike Certain Hearing Testimony (the “Motion”).

 8          2.      Attached as Exhibit A is a true and correct redacted copy of the February 24, 2025

 9   evidentiary hearing transcript for the above-captioned matter.

10          3.      Attached as Exhibit B is a true and correct redacted copy of a letter sent on

11   February 24, 2025 via electronic mail from Joshua Wesneski to Gary Bornstein.

12          4.      Attached as Exhibit C is a true and correct redacted copy of a letter sent on

13   February 28, 2025 via electronic mail from Gary Bornstein to Joshua Wesneski.

14          5.      Attached as Exhibit D is a true and correct redacted copy of a letter sent on March

15   5, 2025 via electronic mail from Mark Perry to Gary Bornstein.

16          6.      Attached as Exhibit E is a true and correct copy of e-mail correspondence between

17   counsel for Epic Games and counsel for Apple between the dates of February 20, 2025 and

18   February 23, 2025.

19          I declare under penalty of perjury that the foregoing is true and correct.

20          Executed on March 7, 2024

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                                                           By: /s/ Mark. A Perry
22                                                         Mark A. Perry

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     DECLARATION OF MARK A. PERRY                                              CASE NO. 4:20-CV-05640-YGR
     REGARDING MOTION TO STRIKE
